          Case 3:21-cr-00052-MCR Document 8 Filed 08/31/21 Page 1 of 2

                                                                                      Page 1 of 2

                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                  CRIMINAL MINUTES

Case No. 3:21-cr-52/MCR                             Date: August 31, 2021
                                                    Time: 2:20 p.m. – 2:26 p.m.


DOCKET ENTRY: INITIAL APPEARANCE ON INDICTMENT
PRESENT:
Honorable Hope Thai Cannon,                         U.S. Magistrate Judge
Keri Igney,                                         Deputy Clerk
PNS Recorder,                                       Court Reporter
David Goldberg                                      Asst. U. S. Attorney
Tim Halstrom,                                       Defense Attorney
None,                                               Interpreter
Kailey Minnick,                                     Probation Officer
Name of Defendant: STEPHEN M. ALFORD,
☒Custody ☐ Bond ☐ O/R

PROCEEDINGS:

☒ Defendant advised that he/she is before a United States Magistrate Judge.

☒ Defendant advised of charges against him/her.

☒ Defendant advised not to make any statement before consulting an attorney.

☒ Defendant advised of his/her right to hire counsel or have counsel appointed.

☒ Defendant executed CJA Form 23 (Financial Affidavit) and sworn to its accuracy.

☒ Defendant appointed the services of the Federal Public Defender.
  (see separate order)

☐ Defendant declined to complete CJA Form 23, and was advised that should he subsequently
change his mind, he should file a CJA 23 with Clerk of Court.

☐ Defendant advised he will hire his own counsel.

☒ Defendant advised of his right to reasonable bail.

☒ Government moves for detention.

☒ Defendant WAIVED the Detention Hearing & reserved the right to re-open the hearing at a
later date if something changes.

☐ Detention hearing set for Click or tap to enter a date. by separate order and defendant
temporarily detained.


3:21-cr-52/MCR
          Case 3:21-cr-00052-MCR Document 8 Filed 08/31/21 Page 2 of 2

                                                                                      Page 2 of 2


☐ Defendant released on conditions.

☒ As required by Rule 5(f), the United States is ordered to produce all exculpatory evidence to
the defendant pursuant to Brady v. Maryland and its progeny. Not doing so in a timely manner
may result in sanctions including exclusion of evidence, adverse jury instructions, dismissal of
charges and contempt proceedings.

☒ Defendant arraigned for trial
            ☒ Defendant waived formal reading of the indictment.
            ☒ Defendant waived entered a plea of NOT GUILTY on all counts.
            ☒ Jury trial date: October 4, 2021 before U.S. District Judge M. Casey Rodgers,
            U.S. Courthouse, Pensacola, Florida




______________________
Filed in open Court
August 31, 2021
CRD: kli




3:21-cr-52/MCR
